Deeming unnecessary a recital of the facts, the Court is entirely satisfied that the injuries sustained by the plaintiff were due solely to the negligence of the defendant, *Page 226 
Gebler.
The claim of the defendant, Gebler, that he should escape the effect of Gebler's negligence because no allegation of agency appears in the complaint finds its answer in the rule that it is not necessary to allege that Gebler was the agent of the owner of the automobile, because the statute raises a legal presumption to that effect which need not be pleaded.Cum. Supp., Section 1661C; Smith vs. Furness, 117 Conn. 97,102.
   The plaintiff received serious injuries. To see and observe her gives a far better story of their extent than relating them. It will be many months before their effect will be dissipated. The special damages approximate $1400. In order that fair and adequate compensation may be received by the plaintiff, let judgment enter for her to recover from both defendants $8000.00.